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     IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                      DISTRICT OF ILLINOIS
                        EASTERN DIVISION

UNITED STATES LIABILITY                       )
INSURANCE COMPANY,                            )
a Pennsylvania corporation,                   )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )     Case No.: __________
                                              )
MANUEL NUNEZ                                  )
1655 Mitchell Road                            )
Aurora, IL 60505                              )
                                              )
JORGE ONTIVEROS                               )
1110 Johnston Drive                           )
Aurora, IL 60506                              )
                                              )
LUCY ONTIVEROS                                )
1110 Johnston Drive                           )
Aurora, IL 60506                              )
                                              )
KIKAS CONSTRUCTION, INC.                      )
1700 N. Farnsworth Avenue                     )
Suite 24                                      )
Aurora, IL 60505                              )
Agent: Alphonsus C. Olieh                     )
                                              )
LITTLE EXPLORERS LEARNING                     )
CENTER, INC.                                  )
325 E. Galena Blvd.                           )
Aurora, IL 60505                              )
Agent: Marvin Britt                           )
                                              )
      Defendants.                             )

                   COMPLAINT FOR DECLARATORY JUDGMENT

      COMES NOW Plaintiff United States Liability Insurance Company (“USLIC”),

by and through its undersigned counsel, and for its Complaint for Declaratory Judgment


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against Defendants Manuel Nunez, Jorge Ontiveros, Lucy Ontiveros, Kikas Construction,

Inc. (“Kikas Construction”), and Little Explorers Learning Center, Inc. (“LELC”), alleges

and states as follows:

                         PARTIES, JURISDICTION AND VENUE

       1.      USLIC is an insurance company organized and existing under the laws of

the State of Pennsylvania, with its principal place of business in Pennsylvania, and, for

purposes of diversity jurisdiction, USLIC is a citizen of Pennsylvania.

       2.      USLIC is authorized to conduct insurance business in the State of Illinois.

       3.      Upon information and belief, Defendant Manuel Nunez is an individual

who resides at 1655 Mitchell Road, Aurora, Illinois and, for purposes of diversity

jurisdiction, is a citizen of Illinois.

       4.      Upon information and belief, Defendants Jorge Ontiveros and Lucy

Ontiveros, husband and wife, reside at 1110 Johnston Drive, Aurora, Illinois, and, for

purposes of diversity jurisdiction, are citizens of Illinois.

       5.      Upon information and belief, Kikas Construction was a corporation

organized and existing under the laws of the State of Illinois, with its principal place of

business in Aurora, Illinois, and for purposes of diversity jurisdiction, was a citizen of

Illinois. According to records maintained by the Illinois Secretary of State, Kikas

Construction was dissolved on or about November 11, 2016.

       6.      Upon information and belief, LELC is a corporation organized and existing

under the laws of the State of Illinois, with its principal place of business in Illinois and,

for purposes of diversity jurisdiction, is a citizen of Illinois.


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       7.     This action is within the subject matter jurisdiction of this Court pursuant to

28 U.S.C. § 1332(a) because the matter in controversy exceeds $75,000 exclusive of

interest and costs and the action is between citizens of different states, in that USLIC is a

citizen of the State of Pennsylvania and Defendants are citizens of the State of Illinois.

       8.     This action is within the subject matter jurisdiction of this Court pursuant to

28 U.S.C. § 2201(a) because this Complaint seeks a judicial declaration of the rights,

status, and legal relations of and among the parties with regard to a contract of insurance

and because an actual case and controversy of a justiciable nature exists among the

parties.

       9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a) because all

Defendants reside and principally operate in the Northern District of Illinois and because

all events giving rise to this dispute occurred in said District.

       10.    Venue is proper in the Eastern Division of this Court because all

Defendants reside and/or principally operate in Kane County, Illinois.

                         FACTS COMMON TO ALL COUNTS

       11.    In or about 2015, Jorge and Lucy Ontiveros filed in the Circuit Court for

the Sixteenth Judicial Circuit, Kane County, Illinois the case captioned Jorge Ontiveros

and Lucy Ontiveros v. Manuel Nunez, Kika’s Construction, Inc., and Little Explorers

Learning Center, Case No. 15L576 (the “Underlying Lawsuit”).

       12.    On or about June 29, 2018, Jorge and Lucy Ontiveros filed their Third

Amended Complaint in the Underlying Lawsuit. (A true copy of the Third Amended

Complaint in the Underlying Lawsuit is attached hereto as Exhibit “A”).


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      13.    The Underlying Lawsuit arises out of injuries allegedly sustained by Jorge

Ontiveros on October 15, 2015.

      14.    Jorge and Lucy Ontiveros allege that sometime before October 15, 2015,

LELC engaged Kikas Construction and/or Manuel Nunez to be the general contractor for

a project at 325 E. Galena Boulevard, Aurora, Illinois (the “premises”). (Third Amended

Complaint Count I ¶ 4).

      15.    Jorge and Lucy Ontiveros further allege that before and on October 15,

2015, Jorge Ontiveros was engaged by Kikas Construction and/or Nunez as a

subcontractor for the construction project. (Third Amended Complaint Count I ¶ 5).

      16.    Jorge and Lucy Ontiveros further allege that on October 15, 2015, there

was a condition on the premises which presented an unreasonable risk of harm to people

on the premises; that Defendants Kikas Construction and Nunez knew, or in the exercise

of ordinary care should have known, of said condition; and, that Kikas Construction and

Nunez could reasonably expect persons on the premises, including Jorge Ontiveros,

whose employment required him to be in, on, or near the condition, would not discover or

realize the danger, or would fail to protect themselves from the danger. (Third Amended

Complaint Count I ¶’s 7-9).

      17.    Jorge and Lucy Ontiveros further allege Kikas Construction and Nunez

each retained some control of the safety of the construction work being done on the

premises and each had a duty to exercise that control with ordinary care. (Third Amended

Complaint Count I ¶ 10).




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       18.    Jorge and Lucy Ontiveros further allege Defendants Kikas Construction

and Nunez were negligent and, as a direct and proximate result of their negligent acts or

omissions, Jorge Ontiveros was injured. (Third Amended Complaint Count I ¶’s 12-13).

       19.    Jorge and Lucy Ontiveros seek damages from Kikas Construction, Nunez

and LELC for injuries allegedly sustained by Jorge Ontiveros on October 15, 2015.

(Third Amended Complaint Counts I-IX).

                                 THE USLIC POLICY

       20.    USLIC issued to Nunez a Commercial General Liability Policy, Policy

Number CL 1719379, effective September 10, 2015 to September 10, 2016 (the

“Policy”). (A true copy of the Policy is attached hereto as Exhibit “B”).

       21.    The Policy includes a Commercial General Liability Coverage Form which

includes the following Insuring Agreement:

              SECTION I – COVERAGES

              COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
              LIABILITY

              1. Insuring Agreement

              a.     We will pay those sums that the insured becomes
                     legally obligated to pay as damages because of "bodily
                     injury" or "property damage" to which this insurance
                     applies. We will have the right and duty to defend the
                     insured against any "suit" seeking those damages.
                     However, we will have no duty to defend the insured
                     against any "suit" seeking damages for "bodily injury"
                     or "property damage" to which this insurance does not
                     apply. …

              (Form CG 00 01 12 07)



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 22.   The Policy contains the following Exclusion:

       2. Exclusions

       This insurance does not apply to:

       …

       b. Contractual Liability

       “Bodily injury” or “property damage” for which the insured is obligated to
       pay damages by reason of the assumption of liability in a contract or
       agreement. This exclusion does not apply to liability for damages:
       (1) That the insured would have in the absence of the contract or
           agreement; or
       (2) Assumed in a contract or agreement that is an “insured contract”,
           provided the “bodily injury” or “property damage” occurs subsequent
           to the execution of the contract or agreement.
       …

       (Form CG 00 01 12 07)

 23.   The Policy contains the following endorsement:

       CONTRACTUAL LIABILITY LIMITATION

       “Insured contract” means:

       a. A contract for a lease of premises. However, that portion of the contract for a
       lease of premises that indemnifies any person or organization for damage by fire
       to premises while rented to you or temporarily occupied by you with permission
       of the owner is not an "insured contract";
       b. A sidetrack agreement;
       c. Any easement or license agreement, except in connection with construction or
       demolition operations on or within 50 feet of a railroad;
       d. An obligation, as required by ordinance, to indemnify a municipality, except in
       connection with work for a municipality;
       e. An elevator maintenance agreement;

       (Form CG 21 39 10 93)




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 24.   The Policy contains the following endorsement:

       BODILY INJURY EXCLUSION - ALL EMPLOYEES, VOLUNTEER
       WORKERS, TEMPORARY WORKERS, CASUAL LABORERS,
       CONTRACTORS, AND SUBCONTRACTORS

          Section I – Coverages, Coverage A Bodily Injury and
          Property Damage Liability, 2. Exclusions, e.
          Employer’s Liability is deleted in its entirety and
          replaced with the following:

          e. Employer’s Liability
              (1) “Bodily injury” to any “employee”, “volunteer
                  worker”, “temporary worker” or “casual laborer”
                  arising out of or in the course of:
                  (a) Employment by any insured; or
                  (b) Performing duties related to the conduct of any
                  insured’s business;

              (2) “Bodily injury” to any contractor, subcontractor or
                  any “employee”, “volunteer worker”, “temporary
                  worker” or “casual laborer” of any contractor or
                  subcontractor arising out of or in the course of the
                  rendering or performing services of any kind or
                  nature    whatsoever      by     such    contractor,
                  subcontractor or “employee”, “volunteer worker”,
                  “temporary worker” or “casual laborer” of such
                  contractor or subcontractor for which any insured
                  may become liable in any capacity; or

              (3) Any obligation of any insured to indemnify or
                  contribute with another because of damages arising
                  out of such “bodily injury”; or

              (4) “Bodily injury” sustained by the spouse, child,
                  parent, brother or sister of any “employee”,
                  “volunteer worker”, “temporary worker” or “casual
                  laborer” of any insured, or of a contractor,
                  subcontractor, or of any “employee”, “volunteer
                  worker”, “temporary worker” or “casual laborer” of
                  any contractor or subcontractor as a consequence of
                  any injury to any person as set forth in (1) and (2)
                  above.


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          This exclusion applies to all claims and “suits” by any
          person or organization for damages because of such
          “bodily injury”, including damages for care and loss of
          services and any claim under which any insured may be
          held liable under any Workers’ Compensation law.

          “Casual laborer” means any person providing work or
          materials to any insured for compensation of any type.

          All other terms and conditions of this policy remain
          unchanged. This endorsement is a part of your policy and
          takes effect on the effective date of your policy unless
          another effective date is shown.

          (Form L 500 (02-11))

 25.   The Policy also contains the following endorsement:

 INDEPENDENTCONTRACTORS/SUBCONTRACTORS EXCLUSION

          It is agreed that this policy shall not apply to “bodily
          injury”, “property damage”, or “personal and advertising
          injury” arising out of the operations performed for any
          insured by any independent contractor(s) and/or
          subcontractors(s) or acts or omissions of any insured in
          the selection, retention or supervision of any independent
          contractor(s) and/or subcontractor(s).

          All other terms and conditions of this policy remain
          unchanged. This endorsement is a part of your policy and
          takes effect on the effective date of your policy unless
          another effective date is shown.

          (Form L-278 (03-14))




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                                        COUNT I

                               DECLARATORY JUDGMENT

       26.    USLIC incorporates by reference as though fully set forth herein the

allegations contained in paragraphs 1 through 25 of this Complaint for Declaratory

Judgment.

       27.    The Policy was written to provide coverage to Nunez, an individual, and

does not provide coverage to Kikas Construction.

       28.    The Policy provides that USLIC will have no duty to defend Nunez against

any suit seeking damages for bodily injury to which this insurance does not apply.

       29.    The Policy provides no coverage for the allegations in the Underlying

Lawsuit.

       30.    Any coverage for the allegations made in the Underlying Lawsuit is

excluded by operation of the Bodily Injury Exclusion, in that the Underlying Lawsuit

arises from bodily injury to any contractor or subcontractor and arises out of or in the

course of the rendering or performing services of any kind or nature whatsoever by such

contractor or subcontractor.

       31.    Alternatively, any coverage for the allegations made in the Underlying

Lawsuit is excluded by operation of the Bodily Injury Exclusion, in that the Underlying

Lawsuit arises from bodily injury to any employee, volunteer worker, temporary worker

or casual laborer, and arises out of or in the course of such employment by any insured or

while performing duties related to the conduct of the insured’s business.




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      32.    Alternatively, any coverage for the allegations made in the Underlying

Lawsuit is excluded by operation of the Independent Contractor/Subcontractor Exclusion,

in that the alleged bodily injuries in the Underlying Lawsuit arise out of the operations

performed for an insured by an independent contractor and/or subcontractor.

      33.    Alternatively, any coverage for the allegations made in the Underlying

Lawsuit is excluded by operation of the Contractual Liability Exclusion.

      34.    The allegations of the Underlying Lawsuit are excluded from coverage

under the Policy.

      35.    USLIC does not owe and has never owed Nunez a duty to defend him

against the claims asserted by Jorge and Lucy Ontiveros in the Underlying Lawsuit.

      36.    USLIC does not owe and has never owed Kikas Construction and/or LELC

a duty to defend them against the claims asserted by Jorge and Lucy Ontiveros in the

Underlying Lawsuit.

      37.    USLIC does not owe Nunez a duty to indemnify him for the claims asserted

against Nunez by Jorge and Lucy Ontiveros in the Underlying Lawsuit or for any

judgment that may be entered on any such claims.

      38.    USLIC does not owe Kikas Construction and/or LELC a duty to indemnify

them for the claims asserted against them by Jorge and Lucy Ontiveros in the Underlying

Lawsuit or for any judgment that may be entered on such claims.

      WHEREFORE, USLIC respectfully prays that the Court: (i) enter judgment in

favor of USLIC and against all Defendants on Count I of this Complaint for Declaratory

Judgment; (ii) declare that USLIC does not owe and has never owed Nunez a duty to


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defend him against the claims asserted by Jorge and Lucy Ontiveros in the Underlying

Lawsuit; (iii) declare that USLIC does not owe and has never owed Kikas Construction

and/or LELC a duty to defend them against the claims asserted by Jorge and Lucy

Ontiveros in the Underlying Lawsuit; (iv) declare that USLIC does not owe Nunez a duty

to indemnify him for the claims asserted by Jorge and Lucy Ontiveros in the Underlying

Lawsuit or for any judgment that may be entered on any such claims; (v) declare that

USLIC does not owe Kikas Construction and/or LELC a duty to indemnify them for the

claims asserted by Jorge and Lucy Ontiveros in the Underlying Lawsuit or for any

judgment that may be entered on such claims; and (vi) grant to USLIC such other and

further relief as the Court deems just and proper under the circumstances.

                                                 Respectfully Submitted,

                                                 FOLAND, WICKENS, ROPER,
                                                 HOFER AND CRAWFORD, P.C.


                                                 /s/ Scott D. Hofer
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                                                 UNITED STATES LIABILITY
                                                 INSURANCE COMPANY




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